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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
RICHMOND DIVISION

PROCEEDINGS BEFORE MAGISTRATE JUDGE haul DATE: 7/1 Nx
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CASENO. / Ny of 3 Y 7 INTERPRETER

Tape NO. ETL

UNITED STATES NA hast M4. Gr @—

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WITNESSES:

 

 

PROCEEDINGS: (NITIAL APPEARANCE ow DETENTION

HEARING
Govt’s motion to unseal, granted
Esa ARREST DATE: Gi [jo

Court summarized charges
“ Court advises of deft’s Rule 5 rights
Financial Affidavit submitted for approval
CJA counsel to be appointed
Deft. to retain counsel

 

 

“ Goyt’s motion to detain deft. ~ granted denied
Deft requests continuance to prepare for detention hearing
Govt. requests continuance to pare for ag DP ing
v Detention hearing set for 4/31] at /.
~ Order of Temporary Detention 3 e-* heari ot
Govt. adduced evidence, rested
Deft. adduced evidence, rested

Arguments heard
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Findings stated from the bench
Order of Detention Pending Trial
Court: Orders bond set at

 

Residence/travel restricted to EDVA

Pretrial Supervision

No drugs, firearms, alcohol

Maintain/seck employment

Avoid contact with potential witnesses, victims, ete.
substance abuse testing and treatment; pay costs
Electr onic monitoring; pay costs

ge party custodian

Maintain contact with attorney

Surrender passport obtain no passport
If deft pleads guilty or found guilty report to PO
May report to AUSA as long as attorney is present
Remain inside and may only leave with approval of Pretrial
Additional conditions:

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Case set: Case called:_ _ Case ended: ___ Total:
